
SUR PETITION FOR REHEARING
Dec. 20, 1994
Present: SLOVITER, Chief Judge, BECKER, STAPLETON, MANSMANN, GREENBERG, HUTCHINSON, SCIRICA, COWEN, NYGAARD, ALITO, ROTH, LEWIS, MCKEE and SAROKIN, Circuit Judges.
The petition for rehearing filed by appel-lees in the above entitled case having been submitted to the judges who participated in the decision of this court and to all other available circuit judges of the circuit in regular active service, and no judge who concurred in the decision having asked for rehearing, and a majority of the circuit judges of the circuit in regular active service not having voted for rehearing by the court in banc, the petition for rehearing is denied. Judges Becker, Hutchinson, Nygaard, McKee and Sarokin would have granted rehearing.
Judges BECKER, HUTCHINSON, NYGAARD, McKEE and SAROKIN would have granted rehearing.
